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                           IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF ARKANSAS


UNITED STATES OF AMERICA                                                      --lJ&I~ ·~
V.                                      NO. 4-11-CR-00200 JMM                     JUL 2 6 2012
CARUTHERS CORDALE DUKES; and                                             JAM
BOBBY M. KHABEER                                                         By:---..,ft4.4.-JLJJ.LL...:::::..==-
                                                                                                   oEPcLER~



                               AGREED PROTECTIVE ORDER

       Based upon the agreement of counsel for the United States and defendants, the Court

hereby enters the following Agreed Protective Order pursuant to Fed. R. Crim. P. 16(d)(l).

       1.       Counsel for the United States has allowed defense counsel for defendants

Caruthers Cordale Dukes and Bobby Khabeer and defendant Bobby Khabeer to review

photographs and video/audio recordings of controlled purchases of controlled substances in the

United States Attorney's Office. Defense counsel now requests copies of the photographs and

recordings for trial preparation purposes. The United States has no objection, with the conditions

set forth below. The conditions set forth below are requested due to witness security issues.

       2.       Defense counsel and defendants shall not disclose the photographs or recordings

directly or indirectly to any person, except those assisting the defense, persons who are interviewed

as potential witnesses, potential experts, or other authorized persons, during the course of the

investigation and defense ofthis case. Defense counsel and defendants shall not use the photographs

or recordings in any fashion outside the framework of this litigation. Therefore, counsel for the

parties have agreed, and the Court orders, that any and all photographs or recordings produced shall

be used solely for the purpose oflitigating this action and that those photographs and recordings shall

not be disclosed except as permitted herein.
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        4.     While counsel may review the photographs and recordings with the defendants,

defendants shall not be provided with the originals or copies of the photographs or recordings. The

photographs and recordings shall not be duplicated without prior written authorization from the

Court. Counsel for defendants and defendants are strictly forbidden from disseminating any

photographs and recordings covered by this Order. Counsel and defendants understand and agree

that a violation of this provision of the Agreed Protective Order could subject them to a finding of

contempt of Court.

        5.       The photographs and recordings shall be maintained in a secure storage space at the

respective offices of defense counsel or maintained under the custody and control of defense counsel

when not in the secure storage space. Counsel for the defendants shall return all photographs and

recordings and any copies thereof to AUSA Stephanie Mazzanti immediately upon the conclusion

of the trial in this case.

        6.       When disclosing the discovery materials to an authorized person, the defendants'

counsel must inform the authorized person that the materials are provided subject to the terms of this

Protective Order and that the authorized person must comply with the terms of this Protective Order.

        7.       Each defendants' counsel will inform the defendant of the provisions of this

Protective Order, and direct them not to disclose or use any information contained in the

government's discovery in violation of this Protective Order. However, nothing contained in the

Protective Order will preclude any party from applying to the Court for further relief or for

modification of any provision hereof.




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IT IS SO ORDERED THIS L.(o DAY 0~ , 2012.




                                        ~M~D~
                                           UNITED STATES DISTRICT JUDGE


APPROVED:



~~                                             /Ja&W&
                                           ~~c.;~
Stephanie Mazzanti



                                           Marion Humphrey




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